                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                   Plaintiff,

             v.                                            Case No. 16-CR-87

JAIME VEGA,

                   Defendant.


                      REPORT AND RECOMMENDATION
                     ON DEFENDANT’S CHANGE OF PLEA


      The United States of America and the defendant, Jaime Vega, appeared before

me on June 15, 2017, for a change of plea colloquy pursuant to Rule 11 of the Federal

Rules of Criminal Procedure. See Court Minutes for Change of Plea Hearing, ECF

No. 357. An interpreter was used to ensure Mr. Vega understood and could actively

participate in the colloquy. Mr. Vega, who was represented by counsel at the hearing,

consented to my conducting the change of plea colloquy. I explained that it would be

for United States District Judge J.P. Stadtmueller alone, not me, to enter the plea

and that my role was to conduct the plea colloquy and then to prepare a report and

recommendation for ultimate disposition by Judge Stadtmueller.

      After Mr. Vega was placed under oath and advised as to the implications of

being untruthful, I questioned him about his competency to go forward with the

hearing. Through his responses, I found that Mr. Vega was lucid, intelligent, and not

under the influence of any intoxicants or substances.



      Case 2:16-cr-00087-JPS     Filed 06/16/17   Page 1 of 3   Document 371
      I then discussed in detail each of the subjects specified in Rule 11, including

the rights Mr. Vega would surrender by entering a plea of guilty, the maximum

penalties associated with the charged offense, and the authority of the sentencing

judge to disregard any recommendations in the Plea Agreement, ECF No. 298, and to

sentence Mr. Vega at the statutory maximums. Mr. Vega fully understood the rights

he was surrendering and the implications of pleading guilty. Mr. Vega waived his

right to prosecution by indictment and consented to prosecution by information. See

Waiver of an Indictment, ECF No. 358. Mr. Vega also was satisfied that he had

received effective assistance of counsel.

      At the conclusion of this colloquy, I determined that the guilty plea was

knowing and voluntary and was not induced by threats or by promises not contained

in the Plea Agreement. I found that there was an independent factual basis

containing each of the essential elements of the sole count charged in the

Information, ECF No. 289, to which Mr. Vega was pleading guilty. Mr. Vega advised

that he was pleading guilty to the charged offense because he was, in fact, guilty and

that the United States could prove beyond a reasonable doubt that he was guilty of

the charged offense. Finally, I found that, in responding to my questions, Mr. Vega

was candid, respectful, and non-evasive, fully accepting responsibility for and

acknowledging the unlawfulness of his conduct.

      NOW, THEREFORE, IT IS HEREBY RECOMMENDED that defendant

Jaime Vega’s plea of guilty be accepted; that a presentence investigation and report

be prepared according to the schedule set by the Court; and that Mr. Vega be


                                            2

      Case 2:16-cr-00087-JPS      Filed 06/16/17   Page 2 of 3   Document 371
adjudicated guilty and have sentence imposed accordingly.

      Your attention is directed to 28 U.S.C. § 636(b)(1)(B) and (C), Fed. R. Crim. P.

59(b), and E.D. Wis. Gen. L. R. 72(c), whereby written objections to any

recommendation herein, or part thereof, may be filed within fourteen days of service

of this Recommendation. Objections are to be filed in accordance with the Eastern

District of Wisconsin’s electronic case filing procedures. Failure to file a timely

objection with the District Judge shall result in a waiver of your right to appeal. If no

response or reply will be filed, please notify the Court in writing.

      Dated at Milwaukee, Wisconsin, this 16th day of June, 2017.

                                                BY THE COURT:


                                                s/ David E. Jones
                                                DAVID E. JONES
                                                United States Magistrate Judge




                                            3

      Case 2:16-cr-00087-JPS       Filed 06/16/17   Page 3 of 3    Document 371
